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From: Michael Juneau
Sent: Wednesday, November 06, 2013 10:29 AM
To: Rice, Joe
Subject: Hacker / April 4, 2012 memo

Joe:

In response to the questions you asked about Chuck Hacker’s 4/4/12 memo and your reply of 4/15/12,
Chuck provided me with the following info:

       1.   Chuck did receive your email. An acknowledgment was sent on 4/15/12.
       2.   Chuck distributed that email internally to PwC and P&N and also to Dan Cantor, counsel for BP.
       3.   Chuck was unable to identify having received any sort of response from BP.


<image001.png>


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